UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF TENNESSEE
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ULTIMA SERVICES CORPORATION,                                                    :

        Plaintiff,                                                              :

                 -against-                                                      :    No. 2:20-cv-00041-
                                                                                     DCLC-CRW
U.S. DEPARTMENT OF AGRICULTURE,                                                 :
U.S. SMALL BUSINESS ADMINISTRATION,
SECRETARY OF AGRICULTURE, and ADMINISTRATOR                                     :
OF THE SMALL BUSINESS ADMINISTRATION,
                                                                                :
        Defendants.
                                                                                 :
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  PLAINTIFF’S REPLY MEMORANDUM OF LAW IN FURTHER SUPPORT OF ITS
               MOTION FOR SUMMARY JUDGMENT (Doc. 60)




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       Plaintiff Ultima Services Corporation (“Ultima”) submits this reply memorandum of law in

further support of its motion for summary judgment (Doc. 60) and in response to defendants’

opposition memorandum (Doc. 72, “Dfs’ SJ Opp. Memo.”) and other papers.


                                            Introduction


       As defendants describe it, the 1978 amendments to the Small Business Act is quite the

unicorn. In their telling, Congress passed a statute creating a race-neutral Section 8(a), Dfs’ SJ Opp.

Memo. 1 (PageID # 2937), and then told the Small Business Administration (“SBA”) (1) it (the

SBA) should decide whether to use race preferences in the 8(a) Program, and then (2) decide what

kind of race preferences to employ in the 8(a) Program. Congress made some findings, but offered

no insight into how the SBA should make these weighty decisions.

       The SBA then adopted a race-neutral case-by-case method of assessing whether someone

was socially disadvantaged. Plaintiffs’ Memorandum In Support of Its Motion for Summary

Judgment (Doc. 60-2, “Pl’s SJ Memo.”) 5-6 (PageID # 811-12). It changed its policy in the mid-

1980’s, and adopted a presumption that members of certain groups were “socially disadvantaged.”

In announcing that proposed change, it did not identify any problem in administering the case-by-

case method, but simply said that its perception of Congress’s intent was that most of the

beneficiaries should be minorities. Id. at 6 (PageID # 812).

       After that, the program blithely continued with a unique division of labor: Congress held

hearings, took evidence, and changed nothing at all in the statute; while the SBA continued to

implement the presumption of social disadvantage, also without much change, but never examining

any evidence that would justify it. Thus, defendants’ brief is replete with references to all the

evidence before Congress, even though all agree that Congress passed a race-neutral 8(a) statute and

never amended it to require anything else. E.g., Dfs’ SJ Opp. Memo. 16 (PageID # 2952) (“the

substantial evidence before Congress at the time the 8(a) program was enacted and amended”), 17

(PageID # 2953) (“Congress had a strong basis in evidence to conclude that a race-conscious remedy

was necessary prior to the enactment of the 8(a) program”), 19 (PageID # 2955) (“Congress had




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substantial evidence of the federal government’s participation in the pervasive discrimination against

MBEs at the time it enacted and amended the 8(a) program”), 21 (PageID # 2957) (“recent evidence

Congress has considered in relation to discrimination against minority-owned bsinesses . . .”), 23

(PageID # 2959) (“substantial circumstantial evidence . . . available to Congress”), 31 (PageID #

2967) (“Congress has continuously made findings of racial discrimination for each group presumed

socially disadvantaged since the 8(a) program was codified.”), and 32 (PageID # 2968) (“Congress

satisfied its obligation to consider the efficacy of race-neutral alternatives”).

        This division of labor – and inaction on both parties’ part – continued even after the D.C.

Circuit handed down an opinion stating that the statute did not permit the consideration of race.
        Defendants do not identify any other statute where Congress simply delegated the decision

to use (or not use) racial preferences to an agency, and then the agency made that decision without

doing its own analysis of whether those racial preferences are needed. Ultima is not aware of any.

        Much of Defendants’ opposition memorandum defending this state of affairs offers up non-

existent evidence (e.g., Congress’s determining that the SBA’s initial case-by-case method was

“ineffective,” Dfs’ SJ Opp. Memo. 32 (PageID # 2968)), peculiar burdens of proof (e.g., proposing

that those citing executive orders must present “evidence that . . . the executive orders . . . have not

been implicitly or explicitly repealed by a subsequent act of Congress” id. at 33 n.12 (PageID #

2969) (emphasis added)), and straw man arguments that Ultima has never made (e.g., the non-

delegation doctrine argument).
        As for narrow tailoring, defendants ignore the fact that they have already conceded that they

believe that the beneficiaries of the presumption easily could qualify as “socially disadvantaged”

without the presumption, Doc. 62-1, Defendants’ Memorandum In Support of Their Motion for

Summary Judgment (“Dfs’ SJ Memo.”) 35, demonstrating that it is hardly necessary and adopted

solely for administrative convenience. They also make disingenuous efforts to deny that the

“rebuttable” presumption is anything but, and their efforts to distinguish binding case law on that

point are meritless.


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                                              Argument

I.      DEFENDANTS MISCONSTRUE BINDING CASE LAW ON STANDING AND,
        ACCORDINGLY, FAIL TO RAISE A GENUINE ISSUE OF MATERIAL FACT

        As previous papers have demonstrated, there is no genuine issue of material fact with respect

to standing because (1) the 8(a) Program indisputably has a racial component and Ultima is unable

to compete for contracts that are reserved for that program, and (2) the current 8(a) Program

indisputably would discriminate against Ultima based on its owner’s race were it to apply for

inclusion. Defendants’ arguments to the contrary are meritless.

        A.     Ultima Has Standing Because The Current Program Has A Racial Component And
               Ultima Is Unable To Compete On An Even Playing Field

        In Vitolo v. Guzman, 999 F.3d 353 (6th Cir. 2021), the court held that plaintiffs there had

standing because eliminating a race-based inability to compete would mean that “the race of the

applicant would not factor into the order in which applications are processed by SBA.” Id. at 359.

And this was so, even if plaintiffs “might not otherwise qualify for priority consideration.” Id. at

359. That is, even if eliminating the presumption of social disadvantage still left the plaintiffs there

outside the priority group because of some other disqualification, they still had standing.

               1.      Corporate Structure. – Thus, defendants’ argument that Ultima lacks standing

because it did not have the right corporate form at the outset of this litigation (Dfs’ SJ Opp. Memo.

4 (PageID # 2940)) is just irrelevant. That it could not “otherwise qualify” for the 8(a) Program does
not affect standing. See also, e.g., Regents of the University of California v. Bakke, 438 U.S. 265,

280 n.14 (1978) (rejecting attacks on medical school applicant’s standing to challenge program that

set aside admission places for disadvantaged minorities; “Nor is it fatal to Bakke’s standing that he

was not a ‘disadvantaged’ applicant.’”); Cortez III Service Corp. v. National Aeronautics and Space

Administration, 950 F. Supp. 357, 360 (D.D.C. 1996) (holding that plaintiff had standing to

challenge an award of a contract under the Section 8(a) Program even though plaintiff was neither

a small business nor a socially and economically disadvantaged business, but rather a large business


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owned by a non-minority that wanted the contract awarded under full and open competition; “Under

the standing analysis: (1) plaintiff faces the threatened injury of losing the right to compete for a

valuable contract; (2) that injury is fairly traceable to the decision by NASA and SBA to offer the

contract under 8(a); and (3) if the Court finds that defendants violated either the APA or the

Constitution, such a decision would put plaintiff in a position to compete for the contract, which it

is now precluded from doing.”); Milwaukee County Pavers Ass’n v. Fiedler, 707 F. Supp. 1016,

1019, 1021, 1032 (W.D. Wisc. 1989) (holding that plaintiff corporations, which “were not actually

managed and controlled by disadvantaged individuals,” were irreparably harmed, sufficient to

warrant preliminary injunctive relief, by state program that presumed that members of certain racial
minorities were disadvantaged for purposes of identifying firms entitled to the benefits of state’s

DBE program, even though the “disadvantaged” businesses “must prove that [they] satisf[y] the size

and ownership and control requirements of [federal regulation]”).

       There are three other considerations regarding this argument. First, it is just plain

disingenuous for defendants to assert that they first learned of this fact during discovery. Dfs’ SJ

Opp. Memo. 4 (PageID # 2940) (“learned in discovery”). Defendants themselves produced a

document in discovery that Ultima had submitted to the SBA long before this litigation commenced

in which the fact that Ultima was a subsidiary was disclosed. Rosman Statement dated July 19, 2022

(“Rosman R. St.”) ¶ 2 & Ex. 42. Accordingly, defendants easily could have raised this at the motion

to dismiss stage. Second, as previously discussed, Ultima would still have been at a disadvantage
had it been owned directly by Celeste Bennett, and it was not obligated to take futile acts in order

to have standing. Doc. 70, Plaintiff’s Memorandum in Opposition To Defendants’ Motion for

Summary Judgment (“Pl’s SJ Opp. Memo.”) 33 (PageID # 2444) (citing Lac Vieux Desert Band of

Lake Superior Chippewa Indians v. Michigan Gaming Control Bd., 172 F.3d 397, 406 (6th Cir.

1999)). Third, Ultima is currently owned directly by Ms. Bennett, and it simply makes no sense to

dismiss this lawsuit when Ultima could (and would) just file a new one.

               2.      Alleged Inability / Unwillingness To Bid. – Defendants also assert that Ultima


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could not bid on “many” of the contracts at the outset of this lawsuit because of its size. Dfs’ SJ

Opp. Memo. 4 n.3 (PageID # 2940). But “many” is not all, and Ultima was always eligible for some

contracts. Doc. 60-4 at 3, ¶ 17 (PageID # 857). Indeed, defendants themselves argue that Ultima

failed to bid on some contracts for administrative support that it was eligible for. Dfs’ SJ Opp.

Memo. at 5 (PageID # 2941). Defendants cannot have it both ways. If Ultima was eligible for

contracts for administrative support outside the 8(a) Program, it would have been eligible for the

same type of contracts reserved for the 8(a) Program had it been able to bid on them. And, in any

event, defendants’ reservation of contracts for the 8(a) Program prior to the commencement of this

lawsuit meant that Ultima was losing revenue at such a great rate that it would again be small
enough to bid on administrative support contracts for every NAICS relevant code. That was clear

at the outset of this litigation and, in fact, it came to pass during the litigation. Doc. 60-4 at 4-5,

¶¶ 21-22 (PageID # 858-59). So, again, even if Ultima’s size at the outset of this litigation were an

actual impediment to standing, dismissal would just result in Ultima filing a new lawsuit.

        Defendants’ argument (Dfs’ SJ Opp. Memo. 5 (PageID # 2941) that Ultima is not ready,

willing, and able to bid on contracts because it did not bid on contracts in the past is based on a false

premise. Ultima was not eligible to bid for most of those contracts defendants identify – 4 of the

5 – because those contracts were limited to a program that required qualification and that Ultima

had not participated in. Doc. 70-2 at 2-3, ¶¶ 6-7 (PageID ## 2464-65); Doc. 61-8 at 2, Req. No. 8

(PageID # 1082). Ultima continues to seek business and would bid on the contracts reserved for the
8(a) Program were they open to competition. Doc. 60-4 at 3-4, ¶¶ 17-19 (PageID ## 857-58); Doc.

70-2 at 3-4, ¶ 9 (PageID ## 2465-66).

                3.      Redressability. – Defendants also assert that Ultima’s injury will not be

redressed by a favorable ruling. Dfs’ SJ Opp. 5-7 (PageID ## 2941-43). But this argument simply

misconstrues the nature of the injury. The injury is not merely an inability to compete on an even

playing field, but the fact that the uneven playing field has a racial component (even if not everyone

with an advantage was there because of race). Vitolo, 999 F.3d at 359 (upholding standing because


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a favorable ruling would mean that “the race of the applicant” would not factor into the order in

which applicants were given priority). Defendants’ own discussion of Adarand Constructors, Inc.

v. Pena, 515 U.S. 200 (1995) shows this. As defendants state, the Court in Adarand found that the

plaintiff there had standing because “the subcontractor compensation clause meant that the plaintiff

bid on unequal footing against small disadvantaged businesses.” Dfs’ SJ Opp. Memo. 5 (PageID

# 2941) (emphasis added). The unequal footing was against SDBs generally, not those SDBs that

received a presumption. The fact that some SDBs received a racial presumption was enough.

       This argument also seems to depend upon an argument that the presumption is severable

from the rest of the statute. Dfs’ SJ Opp. Memo. 6 (PageID # 2942).1 As Ultima noted in its papers

opposing defendants’ motion to dismiss, the weight of authority shows that, when programs employ

a presumption of the kind the SBA uses, courts enjoin the entire program, and not just the

presumption. Doc. 25 at 12 (PageID # 128). And, for the reasons given above, the severability issue

would have no effect on standing in any event.

       Defendants’ opposing papers also reprise their argument from their moving papers that

Ultima cannot show what would happen if the presumption were eliminated. Dfs’ SJ Opp. Memo.

6 (PageID # 2942). Ultima has addressed this argument in its opposition memorandum. Pl’s SJ

Opp. Memo. 32-33 (PageID ## 2443-44).

       Defendants suggest that Vitolo supports their severance theory, but they read far too much

into the holding. They emphasize that the court only enjoined “the race-conscious presumption,”

Defs’ SJ Opp. Memo. 6 (PageID # 2942), but they concede that the plaintiff there only sought to

eliminate “the presumption of disadvantage,” id. at 7 (PageID # 2943). Accordingly, the last

paragraph in Vitolo says nothing about severability, much less standing. Plaintiff in Vitolo had


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       Defendants assert that “[t]he structure and purpose of the Act make clear that the 8(a)
program would continue to exist even absent the presumption.” Dfs’ SJ Opp. Memo. 6 (PageID
# 2942) (emphasis added). This is certainly true because the Act itself has no presumption. The
question is whether the SBA’s program would continue to exist in the same form even absent the
presumption, given that 94% of the current participants qualified with the presumption. Pl’s SJ
Opp. Memo. 32 (PageID # 2443).

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standing even if (a) only a few companies received a presumption of social disadvantage due to race

and (b) plaintiff did not receive any appreciable benefit in its place on line for emergency funds by

its elimination.

       B.      Ultima Has Standing Because It Would Apply To A Race-Neutral Program To Aid
               The Socially And Economically Disadvantaged
       Defendants argue that the situation in Vitolo is analogous to Ultima “seeking to apply to

participate in the 8(a) program and want[ing] to eliminate the race-based presumption so that it could

compete on equal footing with other applicants.” Dfs’ SJ Opp. Memo. 7 (PageID # 2943). They

claim the analogy does not work because Ultima “does not want to apply for the 8(a) program.” Id.

Defendants misunderstand the law. Ultima does not need to express an intention to apply for the

current 8(a) Program, with its racially-discriminatory presumption, to have standing. It is enough

that it would apply to a racially-neutral 8(a) Program, just like the plaintiff in Gratz v. Bollinger

expressed an intention to apply to transfer to the University of Michigan if it eliminated race-

considerations from its admission programs. Gratz v. Bollinger, 539 U.S. 244, 261-62 (2003). See

Pl’s SJ Opp. Memo. 32 (PageID # 2444). Ultima already has stated that it would; it thus has

standing. Doc. 70-2 at 4 (¶ 11) (PageID # 2466). Accordingly, even if this Court were limited to

enjoining the racial presumption, Ultima has standing. Defendants fail to address this argument.

       Defendants try to bolster this argument by asserting that Ultima “does not purport to be”

socially and economically disadvantaged. Dfs’ SJ Opp. Memo. 7 (PageID # 2943). This is both

wrong and somewhat disingenuous on defendants’ part. This argument was the heart of their motion

to dismiss at the outset of the case, and they focused a great deal of their discovery efforts on it.

Ultima produced Ms. Bennett’s tax returns going years back and loan applications. Rosman R. St.

¶ 3. At the end, though, it is clear that Ms. Bennett is economically disadvantaged, at least as the

SBA has been applying that term, and was so economically disadvantaged at the outset of the

litigation (using the criteria that were imminently going into place). Statement of Celeste Bennett




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dated July 19, 2022.2 As for social disadvantage, this lawsuit alleges that Ultima has been

discriminated against because of its owner’s race, and a judgment so holding would make it much

more likely that the SBA would agree. See Doc. 70-2 at 4 (¶ 11) (PageID # 2466).

II.      DEFENDANTS FAIL TO DEMONSTRATE THE SBA’S AUTHORITY TO ADOPT
         RACE PREFERENCES AND THEIR NONDELEGATION DOCTRINE ARGUMENT IS
         AN IRRELEVANT STRAW MAN

         In its moving papers, Ultima cited Michigan Road Builders Ass’n, Inc. v. Milliken, 834 F.2d

583 (6th Cir. 1987), an Equal Protection Clause case involving a preference program not unlike the

8(a) Program, for the proposition that the body adopting race preferences must have had authority

to act to accomplish its purpose. Ultima argued that the SBA lacked that authority. Pl’s SJ Memo.

17-21 (PageID ## 823-27). Instead of addressing that argument, defendants claim that Ultima is

making a “nondelegation” argument, and proceed to refute that argument. Dfs’ SJ Opp. Memo. 8-14

(PageID ##2944-50). In a footnote, they distinguish Michigan Road Builders on the not-surprising

ground that it was not a nondelegation case. Id. at 11 n.5 (PageID # 2947).

         Indeed, it is not. And Ultima was not making any “nondelegation” argument (or an APA

argument or an Appointments Clause argument or anything else). The nondelegation doctrine is a

consideration when Congress unambiguously delegates a task to an administrative agency but fails

to provide an intelligible principle for the agency to use in fulfilling that task. For example, in

Gundy v. United States, 139 S. Ct. 2116 (2019), Congress unambiguously told the Attorney General

that he should decide whether sex offenders who were convicted prior to the passage of the Sex

Offenders Registration and Notification Act had to register under that Act. The question there was

whether Congress had provided the Attorney General with enough guidance to exercise that

discretion. The plurality concluded that Congress wanted pre-Act offenders to register and only

delegated to the Attorney General the decision of when to require such registration. Id. at 2127-29.

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        In May 2019, nine months prior to the commencement of this lawsuit, the SBA first
proposed the changes to the criteria it would consider for “economic disadvantage,” proposing
the levels that are currently applicable. 84 Fed. Reg. 21256, 21264 (May 14, 2019). Comments
had to be received by July 15, 2019 (id. at 21256), and the new regulations were published in
May 2020, effective on July 15, 2020. 85 Fed. Reg. 27650 (May 11, 2020).

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Accordingly, there was no violation of the nondelegation doctrine.

        This case would be a nondelegation doctrine case if the Small Business Act explicitly said

that the SBA should determine whether and how to apply race preferences, but provided little or no

guidance to the SBA as to how to exercise that discretion. But that simply is not what the Act says,

and defendants cannot point to any part of the statute that suggests otherwise. Their nondelegation

argument is a straw man.3

        Ultima made an “equal protection” argument based on Michigan Road Builders. Defendants

offer no argument to suggest that the SBA has inherent authority to decide whether to create race

preferences and, accordingly, do not seem to dispute the proposition that it does not. Rather, in the

midst of their irrelevant nondelegation argument, they suggest that Congress granted it that

authority. They do not offer any authority for the proposition that Congress can pass on such

authority, even quite explicitly, and, again, Ultima is not aware of any. But assuming that it is

possible, defendants’ arguments are unconvincing. The evidence they cite does not support their

argument and they ignore important principles of statutory interpretation which undermine it.

        A.     Defendants’ Evidence Does Not Support Their Argument

        At the outset, it is not clear whether defendants are arguing that Congress told the SBA to

engage in some kind of race-preference or simply that the SBA could decide for itself whether to

adopt race preferential policies. See, e.g., Dfs’ SJ Opp. Memo. 11-12 (“SBA explicitly asserts that

Congress made findings and then delegated to it the authority to promulgate the race-conscious
presumption”). Compare Brief for the Federal Defendants in Opposition in Rothe Development, Inc.

v. Dep’t of Defense, Sup. Ct. No. 16-1239 (“Rothe Brief”) 3 (Doc. 60-3, PageID # 845) (“neither

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        Defendants point out that the D.C. Circuit in Rothe rejected a “nondelegation” argument.
Dfs’ SJ Opp. Memo. 8 (PageID # 2944). This is irrelevant since Ultima is not making such an
argument, but it is worth noting that the Rothe court rejected the argument that Congress
improperly delegated the power to racially classify because it was “premised on the idea that
Congress has created a racial classification” and “Congress has done no such thing.” Rothe
Development, Inc. v. United States Dep’t of Defense, 836 F.3d 57, 74 (D.C. Cir. 2016). That
court also rejected the argument that Congress’s delegation to the SBA to enter into contracts
that are “fair and equitable” or “in the public interest” violated the nondelegation doctrine. Id.
Again, this is not an argument Ultima is making.

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[Section 631] nor [Section 637(a)] requires a race-based presumption of social disadvantage”).

Either argument has its problems. If Congress told the SBA to engage in race preference, defendants

must explain why it did not do so when the 1978 amendments were first passed. If it told the SBA

to decide for itself, it is unclear where Congress did so.

       Defendants first propose 15 U.S.C. § 637(a)(8) as a source of authority to the SBA. Dfs’ SJ

Opp. Memo. 10 (PageID # 2946). (Defendants mistakenly refer to this section as “Section

637(a)(1)(8).”) That section certainly is a source of authority, as defendants say, just not authority

to presume social disadvantage. Rather, Congress’s instructions in that section were to make

determinations as to which groups have been subjected to discrimination. Rothe Development, Inc.
v. United States Dep’t of Defense, 836 F.3d 57, 68 (D.C. Cir. 2016) (holding that Section 637(a)(8)

“does [not] . . . tell the agency to presume that anyone who is a member of any particular group is,

by that membership alone, socially disadvantaged.”); Rothe Brief 10 (Doc. 60-3, PageID # 852)

(“Nor does Section 8(a)(8) [637(a)(8)] require the use of a presumption that every member of a

particular racial group – even a group identified pursuant to Section 8(a)(8) – has individually

suffered prejudice or bias and is therefore socially disadvantaged.”).

       Defendants then turn to Congressional findings, now in 15 U.S.C. § 631(f).                They

acknowledge that the Court in Rothe found that these findings did not create a racial presumption,

but claim that the SBA nonetheless could use those findings as a source of authority because in

ascertaining whether Congress gave the agency an intelligible principle, courts can examine the
context, purpose, and history of the statute. Dfs’ SJ Opp. Memo. 12 (PageID # 2948). But again,

this is just an irrelevant nondelegation argument. When Congress has delegated authority to an

agency, courts can examine these things to determine whether the principle that Congress has

articulated is intelligible. But findings are not themselves a delegation of authority. Rothe Brief 8-9

(PageID ## 850-51) (“Section [631](f)(1)(B) does not direct agency action or alter the statutory

definition of social disadvantage set out in Section [637](a)(5) . . . [N]othing in Section

[631](f)(1)(C) requires such a presumption [of social disadvantage for members of racial groups]


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or overrides the focus in Section [637](a)(5) on whether a particular individual has been the target

of racial or ethnic prejudice.”) (emphasis added).

       Moreover, in examining the context, purpose, and history of the findings, defendants

conveniently ignore that “Congress affirmatively chose to jettison an express racial presumption that

appeared in an earlier version of the bill.” Rothe, 836 F.3d at 68. The racial presumption in that

earlier version was based upon the findings, but Congress specifically chose not to enact it. Id. at

69. And Congress did enact racial presumptions in other parts of the 1978 amendments. Id. See

also Rothe Brief 10 n.3 (PageID # 852) (“Section [637](d) . . . shows that Congress knows how to

require a race-based presumption when it wants to.”).
       Defendants make two other arguments related to the findings. First, in an effort to

rehabilitate the testimony of the SBA’s 30(b)(6) witness, they claim that he “explained that it was

the responsibility of Congress to make those findings.” Dfs’ SJ Opp. Memo. 11 (PageID # 2947).

Ultima believes his testimony speaks for itself; the questions posed to him focused on findings after

the ones made in the 1978 Amendments.

       Second, defendants assail Ultima’s interpretation of the findings – that “many” meant just

that, and not “most” or “all” – as “strained” and “without support in the legislative history.” Dfs’

SJ Opp. Memo. 13 (PageID # 2949). They argue that the most “straightforward reading” of the

findings is that “other persons may be socially disadvantaged for reasons other than their

identification as members of certain groups.” Id. This cannot be correct. The very definition of
socially disadvantaged individuals is those who have been subjected to prejudice or bias “because

of their identity as a member of a group.” 15 U.S.C. § 637(a)(5) (emphasis added). Defendants’

argument would mean that Congress used a completely different definition of that term in the

findings. It is their interpretation – apparently, that Congress found that all members of designated

racial groups were socially disadvantaged – that is strained. Rothe, 836 F.3d at 67 (language in

findings do “not create a presumption that a member of a particular racial or ethnic group is

necessarily socially disadvantaged . . .”). Id. at 64 (“the statute recognizes that not all members of


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a minority group have necessarily been subjected to racial or ethnic prejudice or cultural bias.”).

       B.      Defendants’ Argument Ignores Basic Principles Of Statutory Interpretation
       Defendants’ discussion of delegation omits several very important principles of statutory

interpretation. First, courts are reluctant to assume that Congress authorized agency conduct that

would raise serious constitutional questions. E.g., Solid Waste Agency of Northern Cook County v.

Army Corps of Engineers, 531 U.S. 159, 172 (2001) (“SWANCC”) (rejecting Army Corps of

Engineers’ “Migratory Bird” rule interpretation of the Clean Water Act, giving it jurisdiction over

ponds in an abandoned excavation and gravel pit because they were home to migratory birds;

“Where an administrative interpretation of a statute invokes the outer limits of Congress’ power, we

expect a clear indication that Congress intended that result.”); Nat’l Labor Relations Bd. v. Catholic

Bishop of Chicago, 440 U.S. 490, 501 (1979) (rejecting NLRB’s assertion of jurisdiction over

teachers at church-operated schools because of the serious First Amendment issues that jurisdiction

would raise; “it is incumbent on us to determine whether the Board’s exercise of its jurisdiction here

would give rise to serious constitutional questions. If so, we must first identify ‘the affirmative

intention of the Congress clearly expressed’ before concluding that the Act grants jurisdiction”);

Tiger Lily, LLC v. United States Department of Housing and Urban Development, 5 F.4th 666, 671

(6th Cir. 2021) (rejecting an eviction moratorium imposed by the Center for Disease Control as a

means of slowing the spread of Covid-19; “Our reading of the statute’s text accords with the

principle that that Congress does not casually authorize administrative agencies to interpret a statute

to push the limit of congressional authority.”) (internal quotations marks and citation omitted).

       The racial presumption of social disadvantage plainly raises a serious constitutional question,

as does any racial preference. Vitolo, 999 F.3d at 360 (“Government policies that classify people

by race are presumptively invalid. . . . [Strict scrutiny] is a very demanding standard, which few

programs will survive.”). The statute has no explicit instruction to use a racial presumption.

       Indeed, the D.C. Circuit invoked this very doctrine with respect to the 8(a) statute when it

held that “[e]ven if the statute could be read to permit the agency to use a racial presumption, the


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canon of constitutional avoidance directs that we not construe the statute in a manner that renders

it vulnerable to constitutional challenge on that ground.” Rothe, 836 F.3d at 68 (emphasis added).

The SBA and DOJ then told the Supreme Court: “The court of appeals’ use of that canon is

consistent with this Court’s decisions.” Rothe Brief at 10 n.3 (PageID # 852).

       Second, courts should assume that Congress does not leave major questions to agency

discretion. Tiger Lily, 5 F.4th at 671 (rejecting an eviction moratorium on assumption that Congress

would have spoken clearly if it intended the Public Health Service Act of 1944 to authorize agency

action that broad).

       Defendants briefly address this second issue in a footnote (Dfs’ SJ Opp. Memo. 9 n.4
(PageID # 2945)). Their brusque argument is that the “major questions” doctrine is irrelevant

because this case does not involve a “major question.” Ultima submits that whether to employ racial

preferences as a tool – which, after all, automatically invokes “strict scrutiny”– is a major question

by definition.

       C.        Congressional Inaction Cannot Support The Racial Presumption

       Finally, defendants argue that the SBA has authority to enact a racial presumption of social

disadvantage because Congress has not done anything about it since the SBA first did so. Dfs’ SJ

Opp. Memo. 13 (PageID # 2949). See also id. at 25 (PageID # 2961). This is a disfavored approach

to interpretation. SWANCC, 531 U.S. at 169 (rejecting argument that Congressional failure to repeal

the Migratory Bird rule constituted its approval; using “congressional acquiescence” must be done
“with extreme care”); Brown v. Gardner, 513 U.S. 115, 121 (1994) (rejecting longstanding VA rule

requiring fault on VA’s part before compensation; “Congressional silence lacks persuasive

significance, . . . particularly where the administrative regulations are inconsistent with the

controlling statute.”) (cleaned up); Tiger Lily, 5 F.4th at 673 (rejecting argument that Congress’s

short extension of the eviction moratorium constituted acquiescence). Defendants here do not

supply any evidence that the racial presumption of social disadvantage in the 8(a) Program was well

known and considered by Congress, the minimal prerequisites for considering Congressional


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inaction as support.

        Moreover, Congressional inaction here is a two-edged sword. Congress can also be deemed

to be familiar with judicial as well as administrative interpretations. Here, the D.C. Circuit ruled that

Congress not only did not require racial preferences, it did not even permit them. Rothe, 836 F.3d

at 68. Congress has not taken any action in response to that ruling to demonstrate its disagreement.

Giving these conflicting interpretations, Congressional inaction in recent years might best be

attributed to other causes.

III.    DEFENDANTS’ ARGUMENTS DO NOT RAISE A GENUINE ISSUE OF MATERIAL
        FACT OVER THE STRICT SCRUTINY ANALYSIS
        Much of defendants’ arguments concerning strict scrutiny were set forth in earlier papers

and, accordingly, do not require significant additional discussion.

        Defendants repeat their contention that they bear only the initial burden of producing

evidence demonstrating constitutionality, with the ultimate burden going on Ultima. They add only

a cite to the plurality decision in Wygant v. Jackson Bd. Of Educ., 476 U.S. 267 (1986) – without

identifying it as a plurality decision in its citation. Dfs’ SJ Opp. Memo. 15 (PageID # 2951). Ultima

addressed this issue in its opposing memorandum. Pl’s SJ Opp. Memo. 1-2 (PageID # 2412-13).

As noted there, the United States took the opposite position in United States v. City of Cincinnati.

See Reply Brief of United States in U.S. v. City of Cincinnati, S.D. Ohio No. C-1-80369, 6-7 (copy

accompanying hereto) (“the City has the burden of demonstrating both prongs of the equal
protection analysis”) (emphasis added). Defendants also repeat their argument about the standard

for facial challenges without identifying where Ultima stated it was making such a challenge or

explaining how this would change the strict scrutiny analysis. Dfs’ SJ Opp. Memo. 15 (PageID #

2951). Again, Ultima is challenging the entire 8(a) Program, but as it is implemented by defendants.

If the racial presumption is unnecessary (because, as defendants insist, all the beneficiaries of the

presumption would successfully meet the standard without it), then “there is no federal agency that

could constitutionally” make that presumption. Dfs’ SJ Opp. Memo. 19 n.9 (PageID # 2955). The

case defendants rely upon, Phelps-Roper v. Strickland, 539 F.3d 356 (6th Cir. 2008) was a challenge

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to an Ohio law that restricted protest activities near a funeral or burial service. There was no

instance of a specific violation of the law at issue.

        A.      Compelling Governmental Interest
        Defendants’ arguments mostly misconstrue Ultima’s arguments.

        Ultima has not argued that the evidence before Congress in 1978 could not have been used

to support race preferences if Congress, in fact, had adopted them for the 8(a) Program. Compare

Dfs’ SJ Opp. Memo. 18 (PageID # 2954). What they cannot do is support the SBA’s later adoption

of a race preference, much less its continued use of that preference some forty plus years later.

DynaLantic Corp. v. United States Dep’t of Defense, 885 F. Supp. 2d 237, 258 (D.D.C. 2012) (“the

statute is over thirty years old and the evidence . . . is stale for purposes of determining a compelling

interest in the present.”). If the only thing subject to strict scrutiny is the racial presumption (Dfs’

SJ Opp. Memo. 17 (PageID # 2953)), and if all agree that Congress did not adopt that presumption,

then the evidence before Congress in the 1970’s is irrelevant to the SBA’s continued use of it. This

is especially so when most of the evidence has nothing to do with the 8(a) Program.

        Defendants argue that circumstantial evidence is sufficient to support a conclusion of

intentional discrimination, citing Title VII cases invoking the McDonnell Douglas-Burdine burden-

shifting process. Dfs’ SJ Opp. Memo. 22-23 (PageID ## 2958-59). But the evidence in such Title

VII cases is always about a specific plaintiff: (s)he was not hired, someone else less qualified but

of a different sex, race, or religion was, etc. None of defendants’ evidence is analogous to the kind

of evidence presented in such cases. Rather, it is all just disparity studies and expert reports,

virtually all of them unsworn or unauthenticated.

        Defendants concede that a disparity alone – “utilizat[ion] [of a group] at a rate lower than

their availability in a particular market” – “does not necessarily provide any information as to the

cause of that disparity.” Dfs’ SJ Opp. Memo. 24 (PageID # 2960). Exactly so. Defendants further

argue that other statistical evidence “which rules out the possibility that the disparity was caused by

mere chance or by non-discriminatory factors is evidence of discrimination.” Id. The question is


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whether any of defendants’ evidence “rules out the possibility” of the disparity being caused by

“non-discriminatory factors.” Or, more precisely on this motion for summary judgment, have

defendants shown that their evidence meets that standard and thus creates a strong basis in evidence?

Defendants refer to pages 13-14 of their moving memorandum, three unauthenticated pieces of

evidence attached to their initial motion, and their unsworn expert reports, Dfs’ SJ Opp. Memo. 24

(PageID # 2960), but none of them show how the disparities they rely upon “rule[] out the

possibility” of “non-discriminatory factors.” Indeed, two-thirds of Dr. Wainwright’s expert report

does not even deal with contracting. Pl’s SJ Opp. Memo. 10-11 (PageID ## 2421-22).

       Ultima can meet its summary judgment burden by showing that defendants cannot meet their
burden on an issue on which they bear the burden – like the demonstration of a strong basis in

evidence. Pineda v. Hamilton Cty., 977 F.3d 483, 491 (6th Cir. 2020). That is the case here.

       B.       Narrow Tailoring

       Defendants’ efforts to demonstrate that they can meet their burden on summary judgment

ignore much of what they have said in prior papers and, in several instances, defy common sense.

               1.      Statutes and Executive Orders. – As set forth in Ultima’s moving papers, the

SBA has ignored the guardrails that Congress itself set up to guide the SBA’s implementation of the

program. Specifically, it has ignored the statutory definition of “economically disadvantaged,”

failed to provide the annual reports called for by Congress, and not assessed whether those

participants completing a nine-year term in the 8(a) Program have met the goals and objectives of
their business plans. Pl’s SJ Memo. 24-25 (PageID ## 830-31). Defendants do not dispute any of

this, but quickly dismiss it as not “a proper consideration in the narrow tailoring analysis.” Dfs’ SJ

Opp. Memo. 25 (PageID # 2961). They also claim that Congress must be OK with all of this

because they have not done anything about it. Id.

       The first part of the argument is belied by the fact that defendants themselves relied upon

these factors in their own narrow-tailoring analysis. Dfs’ SJ Memo. 27 (PageID # 1621) (arguing

that the economic disadvantage requirement demonstrates flexibility); id. at 28 (PageID # 1622)


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(arguing that the program has appropriate durational limits because those participants that meet the

goals of their business plans or are no longer economically disadvantaged are graduated early); id.

at 28-29 (PageID ## 1622-23) (arguing that the annual reports allow Congress “ample opportunity

to act if it disagrees with the direction of the program”); id. at 31 (PageID # 1625) (arguing that

requirement of economic disadvantage mitigates burden).

        As for Congressional inaction, defendants do not explain how Congress possibly could know

of the SBA’s lapses (other than the failure to provide reports). The regulatory definition of

economic disadvantage includes a provision quite similar to the statutory definition. 13 C.F.R.

§ 124.104(a). How would Congress know that the SBA does not consider it in reviewing

applications? Or that the SBA does not review those businesses completing the nine-year terms to

determine if they have met the goals and objectives of their business plans? Or that the SBA has

used “imprecise wording” (in the words of its 30(b)(6) witness) in drafting the reports to Congress?

Doc. 73 at 16, No. 55 (PageID # 3002).4 Given the disfavored status of “approval by inaction,” it

is hard to see Congress’s inaction here as acquiescence.

        Not only has the SBA ignored some of Congress’s instructions, it has adopted various

modifications to the 8(a) Program that were not contemplated at all by Congress and/or are

seemingly inconsistent with Congress’s purpose. The SBA permits entities owned by Community

Development Corporations to participate in the 8(a) Program, although Congress never mentioned

them in the statute. 13 C.F.R. § 124.111. In passing P.L. 99-272, § 18015, 100 Stat. 370-71,
Congress added “Indian tribes” to the list of groups in what is now Section 631(f), so that the list

included (and still includes) both “Native Americans” and “Indian tribes.” In 2011, in response to


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         The 408 Report for Fiscal Year 1995 indicates very few 8(a) participants who completed
their term actually met the goals and objectives of their business plan. Defendants deny this
because, pursuant to an SBA regulation, a firm can also “graduate” because one or more of the
owners are no longer economically disadvantaged. Doc. 73 at 16 (PageID # 3002) (Response to
No. 55). If it is true that some of the “small number” listed under “Graduated / Early Graduated”
in the FY 2015 408 Report graduated pursuant to a regulatory (not statutory) definition, this
would only mean that even fewer participants met the goals and objectives of their business
plans.

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public comments, the SBA redefined “Native Americans” from “American Indians, Eskimos, Aleuts,

or Native Hawaiians” to “Alaska Natives, Native Hawaiians, or enrolled members of a Federally or

State recognized Indian tribe.” 76 Fed. Reg. 8229, 8254 (Feb. 11, 2011). The substitution of

“enrolled members” for “American Indians” seems inconsistent with Congress’s decision to list two

different groups.

       Defendants also do not dispute that they have ignored Executive Orders that could have

considered and promoted alternatives to race-preferential contracting policies, or at least provided

guidelines to implement them in a fair way. They have no explanation, for example, why they have

dropped goals for the 8(a) Program, despite the explicit requirement of Executive Order 13170. Pl’s
SJ Memo. 13 (PageID # 819), 26 (PageID # 832). E.O. 12432 and E.O. 11625 require agencies to

consider and promote plans to utilize minority businesses in other ways (Pl’s SJ Memo. 13-14

(PageID # 819-20), 26 (PageID # 832)). As to all three, defendants only assert that (1) they are old

and (2) Ultima has not shown they have not been explicitly or implicitly repealed. Df’s SJ Opp.

Memo. 33 n.12 (PageID # 2969). It is hard to believe that the defendants’ attorneys at the

Department of Justice are not capable of determining whether these orders have been repealed, and

apprising this Court if they have – or that they made no effort to do so in preparing their opposition

memorandum. The official website of the National Archives does not indicate any repeal of the

relevant parts of the orders Ultima cited. See https://www.archives.gov/federal-register/

executive-orders/disposition.
               2.      The “Rebuttable” Presumption. – Defendants’ efforts to show that the

presumption of social disadvantage is truly rebuttable are disingenuous. Here is the response to

the relevant statement of material fact:

               30.     No one has ever successfully challenged the presumption of
                       social disadvantage for someone whose identification as one
                       of the enumerated racial and ethnic minorities is clear.

                       RESPONSE: Disputed. Defendants deny this statement
                       because the SBA has excluded individuals from the 8(a)
                       program where evidence showed that they had not actually
                       held themselves out as a member of a designated group.

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Doc. 73 at 10 (PageID # 2996) (emphasis added, citations omitted). See also id. ¶ 31 (same). This

is a non sequitur. A person who did not “hold themselves out as a member of a designated group”

is not someone whose “identification as one of the enumerated racial and ethnic minorities is clear.”

The evasion only proves the point (which, in any event, is settled by defendants’ discovery

responses, which, unlike the quoted response, were made under oath). As long as someone’s racial

identity is not in question, there is nothing that can be rebutted.

        This is exactly the holding of Vitolo when it held that the presumption is “dispositive.”

Defendants try to distinguish Vitolo because it was applied to “a very different program,” “on a very

limited record,” and only held that the presumption in combination with the 21-day priority period
was dispositive. Dfs’ SJ Opp. Memo. 26 (PageID # 2962). (The fact that others not eligible for the

presumption would have a hard time in qualifying to be “socially disadvantaged” given the short

time frame has nothing to do with the dispositive/rebuttable nature of the presumption.) But Vitolo

did not rely on any of these things in reaching its conclusion, only common sense.

                3.      Necessity / Race-Neutral Alternatives. – Defendants argue that “Congress

satisfied its obligation to consider the efficacy of race-neutral alternatives.” Dfs’ SJ Opp. Memo.

32 (PageID # 2968). But Congress did not have to consider any race-neutral alternative to the race-

neutral statute that it passed.

        The SBA, on the other hand, should have considered race-neutral alternatives, including the

one that they started out with: individual case-by-case analysis. In response, defendants claim:
                Such a suggestion should be dismissed out of hand as the SBA
                already exhausted this method of administering the program, and
                Congress found evidence of its ineffective results in remedying
                discrimination in federal contracting. See [Dfs’ SJ Memo.] at 25-26.

Id. (PageID # 2968). The cited pages of defendants’ moving memorandum say nothing about

Congress’s dissatisfaction with the SBA’s case-by-case method in the early-to-mid 1980’s. Rather,

those two pages only discuss Congress’s various race-neutral actions taken between 1953 and 1978

and other race-neutral programs. Nor have defendants produced anything else to show that anyone

thought that the method being used in the 1980’s was ineffective. If Congress thought so, it could

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have just passed a bill. Nor did the SBA suggest any such dissatisfaction. When it proposed

adopting the presumption, the SBA said only that it “believe[d] that this [change was] consistent

with the Congressional mandate that the primary beneficiaries of the 8(a) program be members of

the statutorily designated minority groups.” 48 Fed. Reg. 56686 (Dec. 22, 1983).

       Defendants’ argument is further undermined by their own concession that “applicants can

and do qualify as socially disadvantaged without the presumption” and that “[t]here is no basis to

presume current participants could not qualify as socially disadvantaged under the existing method

of doing so.” Dfs’ SJ Memo. 34-35 (PageID ## 2970-71) (emphasis added). Of course, it is

defendants who must have some basis for believing that those receiving the presumption could not
qualify under Section 124.103(c). Otherwise, as is apparently the case, the presumption only serves

the not-compelling interest of administrative convenience.

               4.      Goals. – Defendants equate the absence of goals with the absence of hard,

rigid quotas, Dfs’ SJ Opp. Memo. 28-29 (PageID ## 2964-65), but the two are not the same. A goal

can connect the remedy to the harm that provides its justification. Presumably, that is why

Executive Order 13170 required them.

               5.      Duration. – Ultima agrees with defendants that the goal of the duration prong

is to ensure that the remedy will not last longer than the discriminatory effects it is designed to

eliminate. Dfs’ SJ Opp. Memo. 28. In the usual case, that means a set time limit, with Congress

periodically reviewing the need for the program and making adjustments along the way. E.g., Rothe
Development Corp. v. Dep’t of Defense, 545 F.3d 1023, 1027–08 (Fed. Cir. 2008) (describing

history of 10 U.S.C. § 2323, including reenactments and adjustments). As the Supreme Court has

noted, “current burdens . . . must be justified by current needs.” Shelby County v. Holder, 570 U.S.

529, 542 (2013) (internal quotation marks and citation omitted).

       The “duration” limitation does not mean just a limitation on individual participation in the

program. The “discriminatory effects it is designed to eliminate” does not refer to the discriminatory

effects on one person or company, but rather the discriminatory effects that “it” (the whole program)


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is designed to remedy. Here, the SBA has no time limit, nor even any program for assessing the

continuing need for the 8(a) Program. The “duration” factor cuts against narrow tailoring.

               6.      Overinclusive. – Defendants do not seriously dispute that the standards that
the SBA uses to identify the “economically disadvantaged” are expansive, eliminating only the

richest Americans. They first argue that “economic thresholds” are not race conscious, not subject

to strict scrutiny “and therefore have no place in the narrow tailoring analysis.” Dfs’ SJ Opp. Memo.

30 (PageID # 2966). This makes no sense; none of the narrow tailoring factors are “race

conscious.” They do not apply differently by race. Moreover, it is inconsistent with defendants’

repeated references to the economic disadvantage requirement in its own narrow tailoring analyses.

See discussion supra at 16.

       Defendants then argue that the 8(a) program is a program designed to assist business owners

and thus cannot have its economic standards set so low that it would eliminate businesses with

experienced owners.      Dfs’ SJ Opp. Memo. 30 (PageID # 2966).               But the question on

“overinclusiveness” is not whether the program includes businesses that could benefit from

additional assistance, but rather whether it includes many businesses whose owners were unlikely

to be victims of discrimination. If defendants want to cast a broad net, they can do so, but not with

a racial presumption of social disadvantage.

       With respect to the inclusion of the various minorities in the 8(a) Program, defendants assert

that “Congress has continuously made findings of racial discrimination for each group presumed

socially disadvantaged since the 8(a) program was codified.” Dfs’ SJ Opp. Memo. 31 (PageID #

2967). They cite page 30 of their moving memorandum for this proposition, but that page has

nothing in support. (There are three paragraphs from their statement of undisputed material facts

cited at the end of that page. The first only repeats the 1978 findings; the other two refer to the

unsworn report from one of their experts.)

       Defendants also miss the point. Defendants do not have any system for assessing whether

conditions warrant the continued participation of a particular group, or contracts within a particular


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industry, in the 8(a) Program. Nor do they assess the conditions in a particular industry when

reserving contracts to the 8(a) Program. In this case, they reserved many contracts in Ultima’s

industry without any prior evidence that minorities were discriminated against there. Doc. 72 at 19-

20, No. 66 (PageID ## 3005-06). They attack plaintiff’s argument as speculation (Dfs’ SJ Opp.

Memo. 34), but the absence of any periodic review, unassociated with litigation, militates against

narrow tailoring.

                7.      Underinclusive. – In response to Ultima’s argument that the inclusion of
groups appears haphazard, defendants assert that the exclusion of Hasidic Jews makes sense because

Section 8(a) was designed to combat racial or ethnic prejudice or cultural bias, not religious

discrimination. Dfs’ SJ Opp. Memo. 35. The implicit (but unsupported) assertion is that religious

discrimination is not a type of “cultural bias” (which raises a few questions about what exactly

“cultural bias” is.). Presumably, the same would hold true of sex discrimination. But if this were

so, then it is hard to understand how a woman or Hasidic Jew could “still qualify as socially and

economically disadvantaged” (id.) based on those kinds of discrimination since the definition of

“social disadvantage” does not change. That the Court in DynaLantic, 885 F. Supp. 2d at 287, did

not address this obvious contradiction only demonstrates that its analysis should not be followed.

        C.      Defendants’ Cases

        Defendants once again rely heavily upon two district court cases from the District of the

District of Columbia, DynaLantic and Rothe Development Corp. v. Dep’t of Defense, 107 F. Supp.
3d 183 (D.D.C. 2015), aff’d on other grounds, 836 F.3d 57 (D.C. Cir. 2016). Ultima has addressed

these cases previously. Pl’s SJ Opp. Memo. 25 (PageID # 2436). There are any number of legal

holdings in those cases that are inconsistent with either Sixth Circuit authority or the better-reasoned

view of the law, including their conclusions that plaintiff bears the ultimate burden in cases of this

kind (e.g., Rothe, 107 F. Supp. 3d at 207-08), the application of Salerno (id. at 207), and the

application of the “passive participation” (DynaLantic, 885 F. Supp. 2d at 275-76) and “duration”

prongs (id. at 287) of narrow tailoring. Moreover, neither case tried to assess whether the


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discrimination that formed the basis of the government’s “compelling interest” met the requirements

of “specific” and “intentional” discrimination that govern here.

        But the cases are also factually distinguishable. The 8(a) Program assessed in those cases

is not the one before this Court. Both cases relied upon the “rebuttable” nature of the presumption

of social disadvantage (id. at 244, 250; Rothe, 107 F. Supp. 3d at 210), but, in this case, the evidence

demonstrates that it only relates to an individual’s identification with a particular group (13 C.F.R.

§ 124.103(b)(2)), and never with respect to that individual’s personal history of discrimination (13

C.F.R. § 124.103(b)(3)). Those cases relied on the latter provision. They also relied upon the fact

that “[t]he SBA also compares the financial condition of those claiming disadvantaged status to
others in the same or similar line of business who are not socially and economically disadvantaged”

(DynaLantic, 885 F. Supp. 2d at 244), but the evidence in this case shows that the SBA does not do

that in assessing 8(a) applications and does not vary its “economic disadvantaged” analysis for

different “lines of business.” Doc. 73 at 11-12 (PageID ## 2997-98), Nos. 34-37. The standards for

assessing income, net worth, and fair market value of assets also have changed. Compare

DynaLantic, 885 F. Supp. 2d at 244 with 13 C.F.R. § 124.104(c). The 8(a) Program had goals at that

time. DynaLantic, 885 F. Supp. 2d at 285 (“aspirational goals”), 288 (“two percent of the value of

prime and subcontract awards”).        This allowed the DynaLantic court to assess numerical

proportionality. Id. at 288-89. Since goals have been abandoned, defendants now argue that

numerical proportionality is irrelevant. Dfs’ SJ Memo. 27 n.20 (PageID # 1621). There was no
evidence in those cases that 8(a) firms were not meeting the objectives of their business plan or that

the SBA was not even assessing that issue for some firms completing their term. There was no

concession by defendants that beneficiaries of the presumption of social disadvantage could qualify

without it.

        It is also important to consider the assessment of the evidence in those cases. In DynaLantic,

in a supplementary submission, defendants placed “50 disparity studies into the record with little

or no analysis.” DynaLantic, 885 F. Supp. 2d at 265. The court nonetheless examined them itself.


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It found “some of the studies without value and accordingly did not rely upon them.” Id. at 267.

Nonetheless, it examined several of them in great detail, with a particular eye towards their measures

of size, capacity, and availability. Id. at 267-70; see also id. at 268 (referring to Alaska study that

“measured firm capacity by considering the size of each firm’s past bids, past revenue generated,

and revenue generation capacity”), 269 (referring to a Nevada study that “controlled for capacity

(by looking at the size of contracts firms had bid on and been awarded in the past)”). Defendants

do nothing like that here; not even their main expert claims to have examined capacity. Their other

expert concedes that he omitted bidding data from his regression. Ultima does not agree with all of

the DynaLantic court’s analysis, or its entire reliance on these disparity studies (especially in light
of the many that were deemed worthless), but the analysis there far exceeds what defendants have

presented here.

       Finally, DynaLantic’s as-applied challenge was sustained by the court because the

government had no evidence of discrimination in its industry. Id. at 280. Here, defendants’ effort

to show discrimination in Ultima’s industry is limited to their expert reports. They had no evidence

of discrimination in Ultima’s industry prior to their reservation of contracts in that industry for the

8(a) Program. E.g., Associated General Contractors of Ohio, Inc. v. Drabik, 214 F.3d 730, 738 (6th

Cir. 2000) (“[U]nder Croson, the state must have had sufficient evidentiary justification for a

racially conscious statute in advance of its passage; the time of a challenge to the statute, at trial,

is not the time for the state to undertake factfinding.”) (emphasis added).

                                             Conclusion


       For the foregoing reasons, and those presented in its moving papers, Ultima’s motion for

summary judgment should be granted.


                                                       Respectfully submitted,


                                                       /s/ Michael E. Rosman
                                                       Michael E. Rosman

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